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                                                            January 25, 2021

By ECF

The Honorable Loretta A. Preska
United States District Judge
Southern District of New York
500 Pearl Street, Room 2220
New York, NY 10007-1312

                 Re:    Giuffre v. Maxwell, 15 Civ. 7433 (LAP)

Dear Judge Preska:

        We write respectfully on behalf of non-party John Doe in response to a letter submitted
by the parties in Giuffre v. Dershowitz, 19 Civ. 3377 (LAP) (“Dershowitz”), see DE 237,
requesting a clarification and modification of an order entered by the Court in Dershowitz on
January 6, 2021 (“January 6 Order”), see DE 233. 1 This appears to be yet another attempt by the
Dershowitz parties to evade this Court’s carefully constructed privacy protections, by requesting
(i) access to non-party information from Giuffre v. Maxwell, 15 Civ. 7433 (LAP) (“Maxwell”) to
which they are not entitled; and (ii) modifications to the Protective Order in Dershowitz, see DE
227 (“Dershowitz Protective Order”), that would permit the Dershowitz parties, as opposed to
this Court, to determine whether presently sealed documents from Maxwell (the “Sealed
Materials”) should be publicly released. We write to request that the Court protect the integrity
of the Protocol in Maxwell (the “Protocol”) against these evasions; the Court should deny the
Dershowitz parties’ request for a list of non-party Does and their proposed modifications to the
Dershowitz Protective Order.

         We initially raised objections to the Dershowitz Protective Order owing to a concern that
it constituted another effort by the Dershowitz parties to circumvent the Protocol and the ongoing
process proceeding thereunder. See Maxwell, DE 1182. We believed that the Protective Order
granted Ms. Giuffre and Mr. Dershowitz unfettered bilateral authority to publicly file Sealed
Materials from Maxwell which have been, or could be, produced in discovery in Dershowitz. See
id. While the Court did not fully share our concern, in its January 6 Order, it instructed the
parties to append to the Protective Order’s definition of “Confidential Information” language
“which makes clear that the parties cannot agree to unseal the identities of non-party Does where
that information is still sealed in Maxwell.” DE 233, at 2. The Court’s revised language
underscored that “the parties may only agree to remove confidentiality designations for Ms.
Giuffre’s personal documents” from Maxwell, “i.e., those bearing her bates stamp in Maxwell.”
Id. at 3. Further, even where Ms. Giuffre agrees to remove the confidentiality designations from
such materials, the parties may not “publicly disclose or file on the public docket the names or
identifying information of non-party Does (except for Mr. Dershowitz) in materials originally

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    Unless otherwise noted, Docket Entries refer to the Dershowitz case.
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designated confidential in Maxwell and filed in that case either under seal or with the non-party
Doe’s identifying information redacted (unless such information has been unsealed already by
the Court in Maxwell).” Id.

       The Court’s January 6 Order mitigated our concerns. But, apparently unsatisfied with the
Court’s reasonable and apt modifications, the Dershowitz parties now attempt again to thwart the
Protocol by way of their January 20, 2021 letter. See DE 237. They do so in multiple respects.

       First, the parties seek to clarify the term “non-party Does” as it appears in the January 6
Order. This purported ambiguity is just a pretext to again request information from Maxwell to
which they are not entitled, as discussed below. The January 6 Order’s reference to non-party
Does, of course, is in the context of Maxwell and the Protocol. See DE 233, at 3. Paragraph 1 of
the Protocol uses the term “Non-Party” to identify the Does and provides a broad – but non-
exhaustive – list of the criteria under which a person is identified as a Doe. Maxwell, DE 1108 ¶
1. Indeed, the Protocol’s criteria explicitly captures the categories posed as questions by the
Dershowitz parties in their recent letter. See DE 237, at 1. There is nothing ambiguous about the
January 6 Order or the Protocol in this regard.

          Rather, the parties advance this assertion as a precursor to asking the Court whether there
is a list of Does in Maxwell. The Protocol affirmatively states that such a list exists – as it must
in order for the Maxwell parties to execute the Protocol. See Maxwell, DE 1108 ¶ 1. It is
difficult to imagine that Mr. Dershowitz is unaware of this, particularly in light of his prior
efforts to obtain similar information in the past, see, e.g., DE 153, at 3 – efforts which the Court
rejected, see DE 174. There is no basis or need to provide him with this list now.

         Finally, the Dershowitz parties seek to modify the Protective Order to permit them to file
on the public docket the names or identifying information of non-party Does so long as they can
determine that such “information . . . is otherwise publicly available.” DE 237, at 2. As an
initial matter, it is the sole providence of this Court to decide whether the seal should be
removed. The case law makes this clear and this very subject was extensively debated and
resolved prior to the issuance of the Protocol.

        More fundamentally, there is a substantial difference between, on the one hand, a specific
document that has been unsealed (or was never filed under seal), and, on the other, “information”
reflected in a sealed document which “the filing party is able to determine,” unilaterally, “is
otherwise publicly available.”2 Id. Lots of “information” – accurate and inaccurate; legitimately
public and improperly leaked – is “publicly available”; and the fact of asserted-public

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  Notably, the parties’ description of their own request is materially different than the specific
modification language they propose to Your Honor. Specifically, the parties describe their
request only as permitting them to publicly file specific documents that are “available publicly in
unredacted form.” DE 237, at 2. But their proposed modification to the Protective Order would
permit public filing so long as “the filing party” is “able to determine” that the “information”
reflected in that document “is otherwise publicly available.” Id.
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availability is not a proper predicate for prospective public filing. Especially here. See, e.g., DE
144, at 10–11 n.6 (observing the particular incentives for public disclosure at play in
Dershowitz). The fact that publicly disclosed “information” exists is not determinative. See,
e.g., United States v. Gatto, No. 17 Cr. 686 (LAK), 2019 WL 4194569, at *8 (S.D.N.Y. Sept. 3,
2019) (refusing to unseal documents even when “some information relating to the documents in
question already has been discussed on the public record or reported in the media” and observing
that governing law dictates that the existence of such public information “does not mean that the
third-parties concerned have lost any remaining privacy interests in their contents”). It is merely
a factor to be considered by the Court in balancing competing interests to determine whether the
seal should be maintained or removed. That is simply not something that Mr. Dershowitz, Ms.
Giuffre, or the parties acting collectively (or non-parties) can, or should, decide. 3

        We respectfully submit that the parties should not be permitted to publicly file any Sealed
Materials until this Court has determined, pursuant to the Court-ordered Protocol, whether the
Sealed Materials should be unsealed. The Dershowitz parties do not need a list of Does or
further clarification to ensure that this Court Order is followed. Pending this Court’s ruling on
the unsealing of specific documents, the solution for the Dershowitz parties is simple: Sealed
Materials designated as Confidential by Ms. Giuffre, and which disclose non-party identifying
information, should remain exactly that – sealed and confidential.


                                                      Respectfully Submitted,
                                                      KRIEGER KIM & LEWIN LLP


                                                By: _________________________
                                                    Nicholas J. Lewin
                                                    Paul M. Krieger


cc (by ECF): Maxwell Counsel of Record (15 Civ. 7433 (LAP))

cc (by email): Dershowitz Counsel of Record (19 Civ. 3377 (LAP))




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 The parties’ proposal would also fail to provide adequate notice to the affected parties and
undermine that important component of the Protocol. In rejecting Mr. Dershowitz’s original
opposition to the Protocol – and one of his unsuccessful attempts to obtain the release of all
Sealed Materials for public consumption – the Court specifically structured the Protocol to afford
notice to those persons identified or otherwise interested in the Sealed Materials; and to allow
such affected persons the opportunity to object and be heard before their identities are revealed.
Maxwell, DE 1108 ¶ 2.
